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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA



RICK LOVELIEN, et al.,

                   Plaintiff,
v.                                                     Civil Action No. 1:19-cv-0906

THE UNTIED STATES OF AMERICA, et al.,


                    Defendants.

                     RESPONSE TO MINUTE ORDER OF MAY 29, 2019

         Plaintiffs Rick Lovelien and Steven Stewart (“Plaintiffs”) hereby submit the following in

response to this Court’s Minute Order of May 29, 2019, directing Plaintiffs to serve each

Defendant by June 29, 2019 to establish good cause for failure to do so.

         Mr. Siegmund Fuchs of the U.S. Department of Justice, Civil Division accepted service

of Defendants United States of America, Eric Holder, Loretta Lynch, James Comey, and Jeff

Sessions via email on June 10, 2019. Exhibit 1. Defendants Neil Kornze and Bureau of Land

Management were served by Federal Express to Nancy Zahedi, Assistant Regional Solicitor, as

per Mr. Fuchs’ instruction. Exhibit 1.1 Affidavits of service for Defendants US Department of

Justice and Federal Bureau of Investigation, as well as for the U.S. Attorney’s Office in

Washington D.C. are attached hereto as Exhibit 2-4.

         The only remaining Defendant to be served is Dan P. Love, who appears to be evading

service. Exhibit 5. Process servers have located his residence in Utah, and have attempted service

on four separate occasions beginning on June 22, 2019, but have not been able to get anyone to

answer the door. Process servers are now in the process of staking out Defendant Love and hope

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    Tracking number 775500886330 shows a 6/20/2019 11:12 am delivery.

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to have him served shortly. Thus, Plaintiffs respectfully request a brief 14-day extension of time

to serve Defendant Love.

Dated: July 1, 2019                           Respectfully submitted,

                                                 /s/ Larry Klayman
                                                 Larry Klayman, Esq.
                                                 Freedom Watch, Inc.
                                                 D.C. Bar No. 334581
                                                 2020 Pennsylvania Ave, NW
                                                 Suite 345
                                                 Washington, DC, 20006
                                                 Tel: (310) 595-0800
                                                 Email: leklayman@gmail.com

                                CERTIFICATE OF SERVICE

       I, Larry Klayman, counsel for Plaintiff, hereby certify that on this day, July 1, 2019, a

copy of the foregoing was filed via this Court’s ECF system and served upon all parties and/or

counsel of record.


                                                     /s/ Larry Klayman
                                                     Larry Klayman, Esq.




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